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 8                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                 ) CR. No. S-08-0239 LKK
                                               )
12                Plaintiff,                   )
                                               )
13           v.                                ) ORDER CONTINUING STATUS
                                               ) CONFERENCE
14   RICKY WARE and,                           )
     CHRISTIAN ROBERSON,                       )
15                                             )
                   Defendants.                 )
16                                             )
                                               )
17
18                                       ORDER

19           The parties appeared before the Court on Monday, November

20   17, 2008, in case number S-08-0414 LKK.          At that time, based upon

21   the representations and agreement of all counsel, the Court

22   ordered that the status conference set for November 17, 2008, at

23   1:30 p.m., be continued to Monday, December 8, 2008, at 1:30

24   p.m., and that the time beginning November 17, 2008, and

25   extending through December 8, 2008, was excluded from the

26   calculation of time under the Speedy Trial Act.           18 U.S.C. §

27   3161.

28           The exclusion of time is appropriate due to the defense

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 1   counsels’ need to prepare.     18 U.S.C. § 3161(h)(8)(B)(ii) and
 2   (iv); Local Code T4.    A continuance is necessary in this case in
 3   order to ensure defense counsel has a reasonable amount of time
 4   to review the evidence given the limitations imposed by Congress.
 5   It’s also necessary to ensure defense counsel’s effective
 6   preparation, taking into account the exercise of due diligence.
 7   18 U.S.C. § 3161(h)(8)(B)(iv); Local Code T4.
 8        ACCORDINGLY, it is hereby ordered that the status conference
 9   set for November 17, 2008, at 1:30 p.m., be continued to Monday,
10   December 8, 2008, at 1:30 p.m., and that the time beginning
11   November 17, 2008, and extending through December 8, 2008, be
12   excluded from the calculation of time under the Speedy Trial Act.
13   The Court finds that the interests of justice served by granting
14   this continuance outweigh the best interests of the public and
15   the defendant in a speedy trial.       18 U.S.C. § 3161(h)(8)(A).
16        IT IS SO ORDERED.
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     Dated: December 3, 2008
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